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                            DECLARATION OF JESSICA K. SHOOK

        1, Jessica K. Shook, hereby certify as follows:

        1.        I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

        2.        2.     I have been admitted to practice before the following state court on the

date indicated:

                                                                           DATE. ADMITTED

The State of New York                                                          12/15/08

        3.        1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdiction.

        4.        I have not been suspended or disbarred in any jurisdiction , and no disciplinary

actions are pending against me.

        5.        A certificate of good standing for the New York Appellate Division, First

Department and a certificate of admission to practice in the Court of Appeals, State of New York

are attached hereto.

        6.        I am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.

        1 declare under penalty of perjury , pursuant to 28 U.S .C. § 1746, that the foregoing is true

and correct . Executed on March 12, 2010.
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                                                   .STATE OF NEW YORK
                                                      CLERK'S OFFICE


                I, STUART M. COHEN, Clerk of the Court of Appeals of the State of New York, CERTIFY, that

                                             JESSICA LISTEN SHOOK

                                       the courts of the State of New York at the Appellate Division of the Supreme Court, held at
was admitted to practice law in all of `the
New York, New York on December I S, .2008, and that that name has been entered and appears in the Official Register ofAttorneys
and Counselors at Law in the State of New York



                                                                             I have signed this certificate and affixed the seal of
                                                                             the Court ofAppeals at the City ofAlbany in the State
                                                                             of New York this 11 ' day of March, 2010.




                                                                                      fir,
                                                                             Stuart M. Cohen
                                                                             Clerk of the Court

                   I, JONATHAN LIPPMAN, Chief Judge of the Court of Appeals of the State of New York,
                    CERTIFY, that the certification of STUART M. COHEN, Clerk of the Court of Appeals,
                               is in proper form and that it is entitled to full faith and credit.




Dated at Albany, NY,                                                         Jonathan Lippman
March 11, 2010                                                               Chief Judge
